       Case 1:23-cv-12714-ADB          Document 17         Filed 06/21/24   Page 1 of 2




                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


 IN RE: MOVEIT CUSTOMER DATA                            MDL No. 1:23-md-03083-ADB-PGL
 SECURITY BREACH LITIGATION

 This Document Relates To:

 McGarry v. Delaware Life Insurance
 Company et al., 1:23-cv-12714 (D.Mass.)




            NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
                   PURSUANT TO FED. R. CIV. P. 41(a)(1)(A)(i)

       PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff Ruth

McGarry (“Dismissing Plaintiff”) hereby voluntarily dismisses their claims in the above captioned

action against Defendant(s) without prejudice.

       This Notice of Voluntary Dismissal is being filed with the Court before service by

Defendant of either an answer or a motion for summary judgment.

       In the event of a future recovery in this action, nothing in the foregoing shall prevent

Dismissing Plaintiff from submitting a claim as an absent class member and/or from participating

in any settlement or judgement as an absent class member.



DATED this 21st day of June, 2024.               Respectfully submitted,

                                            /s/ Randi Kassan
                                            Randi Kassan
                                            MILBERG COLEMAN BRYSON PHILLIPS
                                            GROSSMAN, PLLC
                                            227 W. Monroe Street, Suite 2100
                                            Chicago, IL 60606
                                            Tel.: (866) 252-0878
                                            gklinger@milberg.com
       Case 1:23-cv-12714-ADB           Document 17        Filed 06/21/24     Page 2 of 2




                                CERTIFICATE OF SERVICE

       I hereby certify that, on this date, the foregoing document was filed electronically via the

Court’s CM/ECF system, which will send notice of the filing to all counsel of record.



Dated: June 21, 2024                         /s/ Randi Kassan

                                             Counsel for Dismissing Plaintiff
